     Case 2:20-cv-03901-DMG-PVC Document 29 Filed 09/25/20 Page 1 of 2 Page ID #:125


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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11      GABRIELA CABRERA, an               Case No.: CV 20-3901-DMG (PVCx)
12      individual,

13                                             ORDER RE DISMISSAL OF
        Plaintiff,                             ACTION WITH PREJUDICE [27]
14
        v.
15

16      GREAT AMERICAN CHICKEN
        CORP, INC., a California
17      corporation; GAP III LLC, a
18      California limited liability
        company; and DOES 1-10,
19      inclusive,
20
        Defendants.
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     Case 2:20-cv-03901-DMG-PVC Document 29 Filed 09/25/20 Page 2 of 2 Page ID #:126


 1           After consideration of the parties’ Joint Stipulation for Dismissal of the entire

 2     action with Prejudice, the Court hereby DISMISSES with prejudice the above-

 3     captioned action, in its entirety. The parties shall bear their own costs and attorneys’

 4     fees. All scheduled dates and deadlines are VACATED.

 5     IT IS SO ORDERED.
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 7     DATED: September 25, 2020
 8                                                     DOLLY M. GEE
 9                                             UNITED STATES DISTRICT JUDGE

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